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10                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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12    ALEXANDER F. BAUMAN AND                        Case No : CV 18-7971-DMG (Ex)
      MELISSA LYNN BAUMAN,
13
14                 Plaintiffs,                       ORDER RE DISMISSAL OF
            v.                                       ACTION WITH PREJUDICE [60]
15
16    FORD MOTOR COMPANY, a
      Delaware Corporation; and DOES 1
17    through 10, inclusive,
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                   Defendants.
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            The Joint Stipulation to dismiss the action is APPROVED. The above-
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      captioned action is hereby dismissed with prejudice in its entirety.
23
            IT IS SO ORDERED.
24
      DATED: April 27, 2021                  ______________________________
25                                           DOLLY M. GEE
26                                           UNITED STATES DISTRICT JUDGE
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